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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

WOODHULL FREEDOM FOUNDATION,              )
et al.,                                   )
                                          )
              Plaintiffs,                 )
                                          )
              vs.                         )                Civil Action No. 18-01552 (RJL)
                                          )
UNITED STATES OF AMERICA and              )
JEFFERSON B. SESSIONS, in his official    )
capacity as ATTORNEY GENERAL OF THE       )
UNITED STATES,                            )
                                          )
              Defendants.                 )
_________________________________________ )

                                NOTICE OF APPEARANCE

       The Clerk of the Court will please enter the appearance of Assistant United States

Attorney Jason T. Cohen as counsel of record for Defendants in the above-captioned case.

Dated: July 2, 2018                         Respectfully submitted,

                                            JESSIE K. LIU, D.C. Bar #472845
                                            United States Attorney

                                            DANIEL F. VAN HORN, D.C. Bar #924092
                                            Chief, Civil Division

                                     By:     /s/ Jason T. Cohen
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